Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 1 of 17 PageID: 166




  Angelo J. Genova
  Rajiv D. Parikh
  Michael C. McQueeny
  Michael Mondelli
  AGenova@genovaburns.com
  RParikh@genovaburns.com
  mmcqueeny@genovaburns.com
  mmondelli@genovaburns.com
  GENOVA BURNS LLC
  494 Broad Street
  Newark, New Jersey 07102
  Telephone: 973-533-0777
  Fax: 973-533-1112

  Marc E. Elias*
  Emily R. Brailey*
  Sarah R. Gonski*
  Mary N. Beall*
  MElias@perkinscoie.com
  EBrailey@perkinscoie.com
  SGonski@perkinscoie.com
  MBeall@perkinscoie.com
  PERKINS COIE LLP
  700 Thirteenth St., N.W., Suite 800
  Washington, D.C. 20005-3960
  Telephone: 202.654.6200


  [additional counsel listed on signature page]


  Counsel for DCCC

  * Motion for admission pro hac forthcoming

                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 2 of 17 PageID: 167




  DONALD J. TRUMP FOR
  PRESIDENT, INC.; REPUBLICAN
  NATIONAL COMMITTEE; NEW
                                          Case No. 3:20-cv-10753-MAS-ZNQ
  JERSEY REPUBLICAN STATE
  COMMITTEE,

                     Plaintiffs,

        v.

  PHILIP D. MURPHY, in his official
  capacity as Governor of New Jersey;
  TAHESHA WAY, in her official
  capacity as Secretary of State of New
  Jersey,


                     Defendants,

  and

  DCCC,

   Proposed Intervenor-Defendants.




         BRIEF IN SUPPORT OF DCCC’S MOTION TO INTERVENE
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 3 of 17 PageID: 168




                                                   TABLE OF CONTENTS



  INTRODUCTION .....................................................................................................1

  BACKGROUND .......................................................................................................2

  ARGUMENT .............................................................................................................2

     I.       DCCC is entitled to intervene as of right.......................................................3
           A. The motion to intervene is timely. ...............................................................3
           B. DCCC has significant protectible interests in this action that will be
              impaired without intervention. ....................................................................4

           C. Intervenors’ interests are not adequately represented by the existing
              parties. ..........................................................................................................7

     II.      DCCC is also entitled to permissive intervention..........................................9

  CONCLUSION ........................................................................................................10
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 4 of 17 PageID: 169

                                         TABLE OF AUTHORITIES

  Cases                                                                                                             Page(s)

  ACR Energy Partners, LLC v. Polo N. Country Club, Inc.,
    309 F.R.D. 191 (D.N.J. 2015)............................................................................... 3

  Citizens for Balanced Use v. Mont. Wilderness Ass’n,
     647 F.3d 893 (9th Cir. 2011) ................................................................................ 8

  Crawford v. Marion Cnty. Election Bd.,
    472 F.3d 949 (7th Cir. 2007), aff’d, 553 U.S. 181 (2008) .................................... 5

  Daunt v. Benson, et al.,
    No. 1:20-cv-522-RJJ-RSK (W.D. Mich. June 9, 2020) ....................................... 8

  Democratic Nat’l Comm. v. Reagan,
    329 F. Supp. 3d 824 (D. Ariz. 2018), rev’d on other grounds sub
    nom. Democratic Nat’l Comm. v. Hobbs, 948 F.3d 989 (9th Cir.
    2020) (en banc) .....................................................................................................6
  Donald J. Trump for President, et al., v. Cegavske,
    No. 2:20-cv-01445-JCM-VCF (D. Nev. Aug. 4, 2020) ....................................... 8
  Donald J. Trump for President, Inc., et al., v. Boockvar, et al.,
    No. 2:20-cv-966-NR (W.D. Pa. June 29, 2020) ................................................... 8
  Fund for Animals, Inc. v. Norton,
    322 F.3d 728 (D.C. Cir. 2003) .............................................................................. 8
  Kleissler v. U.S. Forest Serv.,
     157 F.3d 964 (3d Cir. 1998) .............................................................................4, 8
  Mountain Top Condo. Ass’n v. Dave Stabbert Master Builder, Inc.,
    72 F.3d 361 (3d Cir. 1995) ...............................................................................3, 7

  N.C. State Conf. of NAACP v. McCrory,
     997 F. Supp. 2d 322 (M.D.N.C. 2014), aff’d in part, rev’d in part
     on other grounds sub nom. League of Women Voters of N.C. v.
     North Carolina, 769 F.3d 224 (4th Cir. 2014) ..................................................... 6
  Ohio Org. Collaborative v. Husted,
    189 F. Supp. 3d 708 (S.D. Ohio 2016), rev’d on other grounds sub
    nom. Ohio Democratic Party v. Husted, 834 F.3d 620 (6th Cir.
    2016) .....................................................................................................................6

                                                               ii
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 5 of 17 PageID: 170

                                         TABLE OF AUTHORITIES

  Cases                                                                                                           Page(s)

  Owen v. Mulligan,
    640 F.2d 1130 (9th Cir. 1981) .............................................................................. 6

  Paher v. Cegavske,
    No. 3:20-cv-00243-MMD-WGC, 2020 WL 2042365 (D. Nev. Apr.
    28, 2020) ...............................................................................................................9
  Republican Nat’l Comm., et al., v. Newsom, et al.,
    No. 2:20-cv-01055-MCE-CDK (E.D. Cal. May 24, 2020) .................................. 8
  Tex. Democratic Party v. Benkiser,
     459 F.3d 582 (5th Cir. 2006) ................................................................................ 6
  The Republican State Comm. of Del., et al., v. Del., et al.
     (Del. Ch. Aug. 19, 2020) ......................................................................................8
  Town of Chester v. Laroe Ests., Inc.,
    137 S. Ct. 1645 (2017) ..........................................................................................5

  Trbovich v. United Mine Workers of Am.,
     404 U.S. 528 (1972) ..............................................................................................7

  OTHER AUTHORITIES

  Fed. R. Civ. P. 24(b)(1)(B) ........................................................................................9

  Fed. R. Civ. P. 24(b)(3)..............................................................................................9




                                                              iii
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 6 of 17 PageID: 171




                                   INTRODUCTION
        Pursuant to Federal Rule of Civil Procedure 24, DCCC moves to intervene as

  a defendant in this case.

        Plaintiffs Donald J. Trump for President, Inc., Republican National

  Committee, and the New Jersey Republican State Committee (collectively, the

  “Republican Party”) challenge the elections plans instituted by Defendants Philip

  Murphy, the Governor of New Jersey, and Tahesha Way, the Secretary of State of

  New Jersey (together, “the State”), for the November 3, 2020 general election. The

  State’s decision to implement a primarily all-mail system for the election is both

  reasonable and constitutionally required, in light of the otherwise severe

  impediments to voting posed by the COVID-19 global pandemic. The Republican

  Party alleges a slew of claims in an attempt to undermine the State’s effort to protect

  New Jersey voters during an unprecedented public health crisis. In so doing, they

  pose a clear and direct threat to DCCC’s rights and legal interests.

        For the reasons set forth below, DCCC is entitled to intervene in this case as

  a matter of right under Rule 24(a)(2). DCCC must be permitted to participate to

  safeguard its substantial and distinct legal interests, which otherwise will not be

  represented in this litigation. In the alternative, DCCC should be granted permissive

  intervention under Rule 24(b). In compliance with Rule 24(c), a proposed Answer

  is attached as Exhibit 1.


                                            1
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 7 of 17 PageID: 172




                                    BACKGROUND
        In response to the unprecedented health crisis dominating headlines and

  impacting daily lives across the globe, the Governor proclaimed a state of emergency

  on March 9, 2020. See Compl., ECF No. 1 (“Compl.”). Five months later, in an effort

  to both protect and assist voters during the pandemic, the Governor issued Executive

  Order 177 (“EO 177”) on August 14. Id. at ¶ 66. Among other provisions, EO 177

  requires that “The November General Election shall be conducted primarily via

  vote-by-mail ballots, which will be sent to all ‘Active’ registered voters without the

  need for an application to receive a vote-by-mail ballot.” Id. at 6. The distribution of

  mail ballots will be accompanied by meaningful opportunities to vote in person. See

  Exec. Order No. 177 (Aug. 14, 2020), available at https://bit.ly/30ZjBaj (last visited

  Aug. 21, 2020).

        On August 18, the Republican Party filed this action seeking to invalidate EO

  177 and block the Governor’s entirely appropriate and prudent efforts to safeguard

  the right to vote of New Jersey voters in this unprecedented pandemic.

                                      ARGUMENT

        Under the Federal Rules of Civil Procedure, there are two bases for

  intervention: intervention as of right pursuant to Rule 24(a) or permissive

  intervention pursuant to Rule 24(b). DCCC’s intervention in this litigation is

  supported under both grounds.


                                             2
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 8 of 17 PageID: 173




  I.    DCCC is entitled to intervene as of right.
        DCCC satisfies each of the four requirements under Federal Rule of Civil

  Procedure 24(a) to intervene as a matter of right. Under that rule, a proposed party

  must demonstrate that: (1) the application for intervention is timely; (2) the applicant

  has a sufficient interest in the litigation; (3) the interest may be affected or impaired,

  as a practical matter by the disposition of the action; and (4) the interest is not

  adequately represented by an existing party in the litigation.” Mountain Top Condo.

  Ass’n v. Dave Stabbert Master Builder, Inc., 72 F.3d 361, 366 (3d Cir. 1995)

  (citation omitted). Courts “liberally construe Rule 24(a) in favor of intervention.”

  ACR Energy Partners, LLC v. Polo N. Country Club, Inc., 309 F.R.D. 191, 192

  (D.N.J. 2015) (quotations and alterations omitted). DCCC satisfies all four elements

  here and should be granted intervention as of right.

        A.     The motion to intervene is timely.
        DCCC’s motion is timely. Courts in the Third Circuit weigh three factors in

  determining timeliness: “(1) the stage of the proceeding; (2) the prejudice that delay

  may cause the parties; and (3) the reason for the delay.” Mountain Top Condo., 72

  F.3d at 369. The Republican Party initiated this action on August 18, and DCCC

  files this motion just days later, before any significant action in the case. There has

  been no delay, and there is no possible risk of prejudice to the other parties. See id.

  at 370 (finding intervention was timely despite four-year delay because no


                                              3
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 9 of 17 PageID: 174




  significant action had occurred on case).

         B.    DCCC has significant protectible interests in this action that will
               be impaired without intervention.

         DCCC has significant protectible interests in this lawsuit that will be impaired

  by the Republican Party’s causes of action, should it be successful. In examining

  whether a proposed intervenor’s interests are sufficient to support intervention,

  courts in the Third Circuit take a pragmatic approach, observing that the “central

  purpose” of the requirement is “to allow intervention by those who might be

  practically disadvantaged by the disposition of the action.” Kleissler v. U.S. Forest

  Serv., 157 F.3d 964, 970 (3d Cir. 1998). Noting that the outcomes plaintiffs seek in

  suits against government entities can “have an immediate and deleterious effect on

  other individuals and entities,” the Court has emphasized that “[r]ather than barring

  access to these parties, Rule 24 allows the court to give them the opportunity to

  present their positions.” Id. at 971. “Evenhandedness is of paramount importance.”

  Id..

         The Republican Party’s challenges to the State’s plan to conduct the general

  election primarily by mail compromises DCCC’s legally protectible interests.

  Without the State’s actions to ensure that New Jersey voters are not disenfranchised

  as a result of the pandemic, many will be forced to choose between risking their

  health to vote and exercising their right to the franchise. If the Republican Party

  succeeds and the State’s plans to mail ballots to registered voters are thwarted, many

                                              4
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 10 of 17 PageID: 175




  of those voters—including significant numbers who would have supported

  Democratic candidates—will effectively lose their ability to vote in the coming

  election. As the official congressional committee of the national Democratic Party

  dedicated to ensuring the election of Democrats to U.S. Congress (including

  specifically in New Jersey), this directly, severely, and irreparably harms DCCC in

  at least two ways: first, it will make it more difficult for DCCC to elect their

  candidates to office, because it will suppress the vote of countless voters who would

  have otherwise cast ballots in support of those candidates; and second, it will cause

  DCCC to have to divert resources that it otherwise could have expended on other

  mission-critical efforts, but will now have to expend to address the lack of readily

  available mail ballots. DCCC also has a cognizable interest in asserting the rights of

  their members and the voters who associate with the Party who will lose or have

  their ability to cast ballots unduly burdened, as well as the interests of the candidates

  who they support, who will suffer similar injuries to their electoral prospects.

        Each of these injuries independently constitutes a sufficient injury to confer

  Article III standing on intervenors, which goes beyond the requirement needed for

  intervention under Rule 24(a)(2) in this case. See, e.g., Town of Chester v. Laroe

  Ests., Inc., 137 S. Ct. 1645, 1651 (2017) (noting an intervenor by right only needs

  “Article III standing in order to pursue relief that is different from that which is

  sought by a party with standing”); see also Crawford v. Marion Cnty. Election Bd.,


                                             5
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 11 of 17 PageID: 176




  472 F.3d 949, 951 (7th Cir. 2007) (“The Democratic Party [] has standing to assert

  the rights of those of its members who will be prevented from voting by the new

  law” and that the law “injures the Democratic Party by compelling the party to

  devote resources to getting to the polls those of its supporters who would otherwise

  be discouraged by the new law from bothering to vote”), aff’d, 553 U.S. 181 (2008);

  Tex. Democratic Party v. Benkiser, 459 F.3d 582, 586–87 (5th Cir. 2006)

  (recognizing “harm to [] election prospects” constitutes “a concrete and

  particularized injury”); Owen v. Mulligan, 640 F.2d 1130, 1132 (9th Cir. 1981)

  (holding “the potential loss of an election” is sufficient injury to confer Article III

  standing); Democratic Nat’l Comm. v. Reagan, 329 F. Supp. 3d 824, 841 (D. Ariz.

  2018) (finding standing where law “require[d] Democratic organizations…to retool

  their [get-out-the-vote] strategies and divert [] resources”), rev’d on other grounds

  sub nom. Democratic Nat’l Comm. v. Hobbs, 948 F.3d 989 (9th Cir. 2020) (en banc);

  Ohio Org. Collaborative v. Husted, 189 F. Supp. 3d 708, 726 (S.D. Ohio 2016)

  (political party “established an injury in fact” where “the challenged provisions will

  make it more difficult for its members and constituents to vote”), rev’d on other

  grounds sub nom. Ohio Democratic Party v. Husted, 834 F.3d 620 (6th Cir. 2016);

  N.C. State Conf. of NAACP v. McCrory, 997 F. Supp. 2d 322, 342 (M.D.N.C. 2014)

  (political party has “direct, particularized interest in the outcome of an election”),

  aff’d in part, rev’d in part on other grounds sub nom. League of Women Voters of


                                            6
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 12 of 17 PageID: 177




  N.C. v. North Carolina, 769 F.3d 224 (4th Cir. 2014).

        C.     Intervenors’ interests are not adequately represented by the
               existing parties.

        DCCC cannot rely on the State to adequately represent their interests.

  DCCC’s burden to show inadequate representation is minimal; it need only show

  that representation of its interests “may be” inadequate. Trbovich v. United Mine

  Workers of Am., 404 U.S. 528, 538 n.10 (1972); Mountain Top Condo, 72 F.3d at

  323. When making its determination, the Court compares DCCC’s interests to the

  interests of the State. Mountain Top, 72 F.3d at 323. To be sure, DCCC shares some

  of the State’s interests in this litigation—namely, in ensuring that New Jersey

  preserves its ability to enact and implement much-needed changes to its election

  structure in light of unprecedented global chaos.

        But DCCC has other significant interests not shared by any other party in this

  litigation. It is crucial to DCCC’s core mission to ensure that each of its affiliated

  candidates has a robust base of support and that their members in New Jersey have

  a meaningful opportunity to cast a ballot. If the Republican Party successfully

  obstructs the State’s efforts to expand access to mail voting in light of the COVID-

  19 pandemic, then DCCC will have to spend more money on voter education and

  get out the vote campaigns in New Jersey in order to boost turnout to make up for

  the voters disenfranchised as a result of the Republican Party’s efforts here and

  attempt to ameliorate that harm in ways that DCCC would not otherwise have to do

                                            7
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 13 of 17 PageID: 178




  if EO 177 were in force.

        Additionally, DCCC can offer particular insight into the Republican Party’s

  national strategy, because this lawsuit is only one of many cases that it has recently

  brought to obstruct states’ efforts to ensure a fair and equal election during a global

  pandemic. See, e.g., Donald J. Trump for President, et al., v. Cegavske, No. 2:20-

  cv-01445-JCM-VCF (D. Nev. Aug. 4, 2020) (ECF No. 1); Republican Nat’l Comm.,

  et al., v. Newsom, et al., No. 2:20-cv-01055-MCE-CDK (E.D. Cal. May 24, 2020)

  (ECF No. 1); Donald J. Trump for President, Inc., et al., v. Boockvar, et al., No.

  2:20-cv-966-NR (W.D. Pa. June 29, 2020) (ECF. No. 4); The Republican State

  Comm. of Del., et al., v. Del., et al., (Del. Ch. Aug. 19, 2020); Daunt v. Benson, et

  al., No. 1:20-cv-522-RJJ-RSK (W.D. Mich. June 9, 2020) (ECF No. 1). DCCC has

  successfully intervened in many of these cases and has experience defending against

  the Republican Party.

        No other party to this litigation can defend against the Republican Party’s

  national litigation strategy like DCCC can. As government actors who are only

  participating in a single case, the State lacks the national perspective and cannot

  adequately represent DCCC’s interests here. See Kleissler, 157 F.3d at 972-74; see

  also Fund for Animals, Inc. v. Norton, 322 F.3d 728, 736 (D.C. Cir. 2003); accord

  Citizens for Balanced Use v. Mont. Wilderness Ass’n, 647 F.3d 893, 899 (9th Cir.

  2011) (“[T]he government’s representation of the public interest may not be


                                            8
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 14 of 17 PageID: 179




  ‘identical to the individual parochial interest’ of a particular group just because ‘both

  entities occupy the same posture in the litigation.’” (quoting WildEarth Guardians

  v. U.S. Forest Serv., 573 F.3d 992, 996 (10th Cir. 2009)); cf. Paher v. Cegavske, No.

  3:20-cv-00243-MMD-WGC, 2020 WL 2042365, at *3 (D. Nev. Apr. 28, 2020)

  (concluding “Proposed Intervenors . . . have demonstrated entitlement to intervene

  as a matter of right” where they “may present arguments about the need to safeguard

  [the] right to vote that are distinct from Defendants’ arguments”). And although the

  Atlantic County Democratic Committee has moved to intervene, it likewise does not

  adequately represent the DCCC’s interests; DCCC’s interests are statewide and not

  limited to the specific circumstances of Atlantic County voters.1

  II.   DCCC is also entitled to permissive intervention.
        Even if this Court were to find DCCC ineligible for intervention as of right,

  DCCC readily satisfies the requirements for permissive intervention under Rule

  24(b). Permissive intervention is appropriate where a party “has a claim or defense

  that shares with the main action a common question of law or fact.” Fed. R. Civ. P.

  24(b)(1)(B). “In exercising its discretion, the court must consider whether the

  intervention will unduly delay or prejudice the adjudication of the original parties’

  rights.” Fed. R. Civ. P. 24(b)(3).



  1
   The Atlantic County Democratic Committee sought intervention as amicus on
  August 20, 2020. ECF No. 9.
                                             9
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 15 of 17 PageID: 180




        For the reasons discussed above, this motion is timely, and DCCC cannot rely

  on the State or other proposed intervenors to adequately protect its interests. DCCC

  also has defenses to the Republican Party’s claims that share common questions of

  law and fact. For example, DCCC contends that the State acted lawfully when it

  issued plans to make voting easier for New Jersey voters in light of the pandemic.

  And significantly, intervention will result in neither prejudice nor undue delay.

  DCCC has an undeniable interest in a swift resolution of this action, to ensure that

  the State has sufficient time to allow every New Jersey voter to cast a ballot in the

  election, and to allow it time to conduct its own voter education and turnout efforts.

  Given the legal and factual shortcomings of the Republican Party’s claims, DCCC

  is confident that their intervention in this case, and the filings that will follow, will

  result in expeditious resolution of this litigation.

                                     CONCLUSION
        For the reasons stated above, DCCC respectfully requests that the Court grant

  its motion to intervene as a matter of right under Rule 24(a)(2) or, in the alternative,

  permit it to intervene under Rule 24(b).




                                             10
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 16 of 17 PageID: 181




  DATED: August 24, 2020
                                    By: s/ Rajiv D. Parikh

                                       GENOVA BURNS LLC
                                       Angelo J. Genova
                                       Rajiv D. Parikh
                                       Michael C. McQueeny
                                       Michael Mondelli
                                       AGenova@genovaburns.com
                                       RParikh@genovaburns.com
                                       mmcqueeny@genovaburns.com
                                       mmondelli@genovaburns.com
                                       494 Broad Street
                                       Newark, New Jersey 07102
                                       Telephone: 973-533-0777
                                       Fax: 973-533-1112

                                       Marc E. Elias*
                                       Emily R. Brailey*
                                       MElias@perkinscoie.com
                                       EBrailey@perkinscoie.com
                                       PERKINS COIE LLP
                                       700 Thirteenth St., N.W., Suite 800
                                       Washington, D.C. 20005-3960
                                       Telephone: 202.654.6200
                                       Fax: 202.654.6211

                                       Sarah R. Gonski*
                                       SGonski@perkinscoie.com
                                       PERKINS COIE LLP
                                       2901 North Central Avenue, Suite 2000
                                       Phoenix, AZ 85012-2788
                                       Telephone: 602.351.8000
                                       Fax: 602.648.7037

                                       Mary N. Beall*
                                       MBeall@perkinscoie.com
                                       PERKINS COIE LLP
                                       33 E. Main St., Ste 201

                                       11
Case 3:20-cv-10753-MAS-ZNQ Document 10-1 Filed 08/24/20 Page 17 of 17 PageID: 182




                                       Madison, WI 53703-3095
                                       Telephone: 606.294.4001
                                       Fax: 608.663.7499

                                    Attorneys for DCCC


                                    *Application for pro hac vice forthcoming




                                       12
